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                               UNITED STATES DISTRICT COURT                               JS-6
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

  Case No.      CV 21-6787-DMG (PLAx)                                         Date    November 12, 2021

  Title Blanca Torres v. Phoenix Financial Services, LLC                                      Page     1 of 1


  Present: The Honorable        DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                KANE TIEN                                                     NOT REPORTED
                Deputy Clerk                                                   Court Reporter

      Attorneys Present for Plaintiff(s)                             Attorneys Present for Defendant(s)
               None Present                                                    None Present

 Proceedings: (IN CHAMBERS) ORDER AND NOTICE TO ALL PARTIES

          In light of Plaintiff’s notice of settlement, indicating that the case has settled in its entirety,
 this action is placed in inactive status. By December 27, 2021, the parties shall file either (1) a
 stipulation and proposed order for dismissal of the action or judgment, or (2) a motion to reopen
 if settlement has not been consummated. Upon the failure to timely comply with this Order, this
 action shall be deemed dismissed as of December 28, 2021.

         This Court retains full jurisdiction over this action and this Order shall not prejudice any
 party to this action. All scheduled dates and deadlines are hereby VACATED.

 IT IS SO ORDERED.




  CV-90                                CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk KT
